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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICHEMONT INTERNATIONAL SA,
CARTIER INTERNATIONAL A.G.,                         Case No. 20-cv-06731
MONTBLANC-SIMPLO GMBH, CHLOE
S.A.S., VAN CLEEF & ARPELS SA, and                  Chief Judge Rebecca R. Pallmeyer
OFFICINE PANERAI A.G.,
                                                    Magistrate Judge Jeffrey I. Cummings
               Plaintiffs,
v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

               Defendants.


                              STIPULATION OF DISMISSAL

        Plaintiffs Richemont International SA, Cartier International A.G., Montblanc-Simplo

GmbH, Chloe S.A.S., Van Cleef & Arpels SA, and Officine Panerai A.G. (collectively,

“Plaintiffs”) and Defendant SOCIALFLOATS (“Defendant”) hereby stipulate to the dismissal

without prejudice of Defendant pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure. Each party will bear their own costs and attorneys’ fees.




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Dated this 5th day of January 2021.   Respectfully submitted,


                                      /s/ Justin R. Gaudio_______________
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                                      GmbH, Chloe S.A.S., Van Cleef & Arpels SA, and
                                      Officine Panerai A.G.

Dated this 13th
           ___ day of January 2021.   Respectfully submitted,

                                      _______________________________

                                      Michael Viaene
                                      Global Marketing Services LLC

                                      Defendant SOCIALFLOATS




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